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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                               CASE NO.

  PATRICIA MELLNITZ,

         Plaintiff,

  v.

  CARNIVAL CORPORATION,
  SUN BAHAMAS WATER SPORTS d/b/a
  BAHAMAS STORAGE AND SHIPPING
  SUPPLIES COMPANY LTD., and
  XYZ CORPORATION,

         Defendants.
                                                   /

                           COMPLAINT AND DEMAND FOR JURY TRIAL

  Plaintiff sues Defendants and alleges:

                                   PRELIMINARY ALLEGATIONS

         1. The Plaintiff, PATRICIA MELLNITZ, is a citizen of New York.

         2. Defendant, CARNIVAL CORPORATION (hereinafter “Carnival”), is a foreign

  entity with its principal place of business in Florida.

         3. Defendant, SUN BAHAMAS WATER SPORTS d/b/a BAHAMAS STORAGE AND

  SHIPPING SUPPLIES COMPANY LTD., upon information and belief, is an entity based in

  Bahamas.

         4. Defendant, XYZ CORPORATION, is included to represent the owner(s) and/or

  operator(s) of the subject excursion, insofar as such entity has a different name than the named

  Defendants herein. According to Carnival, the “tour operator” of the subject excursion is SUN

  BAHAMAS WATER SPORTS d/b/a BAHAMAS STORAGE AND SHIPPING SUPPLIES



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  COMPANY LTD. In the event discovery reveals different and/or additional entities contributed

  to the ownership, operation, and/or management of the subject excursion, the legal names of the

  entities will be substituted for XYZ CORPORATION.

         5. The matter in controversy exceeds, exclusive of interest and costs, the sum specified

  by 28 U.S.C. § 1332. In the alternative, if diversity jurisdiction does not apply, then this matter

  falls under the admiralty and maritime jurisdiction of this Court.

         6. The causes of action asserted in this Complaint arise under the General Maritime Law

  of the United States.

         7. Defendants, at all times material hereto, personally or through an agent:

             a. Operated, conducted, engaged in or carried on a business venture in this state

                 and/or county or had an office or agency in this state and/or county;

             b. Were engaged in substantial activity within this state;

             c. Operated vessels in the waters of this state;

             d. Committed one or more of the acts stated in Florida Statutes, Sections 48.081,

                 48.181 or 48.193;

             e. The acts of Defendants set out in this Complaint occurred in whole or in part in

                 this county and/or state.

             f. Defendants were engaged in the business of providing to the public and to the

                 Plaintiff in particular, for compensation, vacation cruises aboard their vessel.

         8. Defendants are subject to the jurisdiction of the Courts of this state.

                   The Excursion Entities’ activities in Florida satisfy a finding
                   of specific jurisdiction under Florida Statute § 48.193(1)(a).

         9. At all times material hereto, the activities of Defendants, SUN BAHAMAS WATER

  SPORTS d/b/a BAHAMAS STORAGE AND SHIPPING SUPPLIES COMPANY LTD and



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  XYZ CORPORATION (hereinafter collectively referred to as the “Excursion Entities” in a

  manner so as to retain each Defendant’s separate and individual liability in the event said

  Defendants are severed) in Florida satisfy the specific jurisdiction provision of Florida Statute §

  48.193(1)(a), by acts that include, but are not limited to, (a) reaching out to Florida-based cruise

  lines, insurers, cruise industry associates, and/or premium financing companies for purposes of

  operating, conducting, engaging in, or carrying on a business or business venture in this state;

  and/or (b) contractually agreeing to indemnify Florida-based cruise lines (entities mostly located

  in Miami and Ft. Lauderdale) for any harm resulting to cruise passengers, thereby insuring a

  “person, property, or risk located within this state.”

            The Excursion Entities’ contract with Carnival meets all requirements to
         satisfy a finding of specific jurisdiction under Florida Statute § 48.193(1)(a)(9).

          10. At all times material hereto, the Excursion Entities entered into a contract with

  Carnival concerning the subject excursion, which (a) contains a choice-of-law clause designating

  Florida law as the governing law; (b) contains a provision whereby the Excursion Entities agree

  to submit to the exclusive jurisdiction of the courts of Florida; (c) involves consideration of not

  less than $250,000 or relate to an obligation arising out of a transaction involving in the

  aggregate not less than $250,000; (d) does not violate the U.S. Constitution; and (e) has at least

  one party of the contract that is a resident of Florida or incorporated under the laws of Florida.

  Therefore, the contract between Carnival and the Excursion Entities meets all requirements to

  satisfy a finding of specific jurisdiction under Florida Statute § 48.193(1)(a)(9).

       The Excursion Entities’ continuous and systematic general business contacts with
       Florida satisfy a finding of general jurisdiction under Florida Statute § 48.193(2).

          11. At all times material hereto, the Excursion Entities have engaged in substantial and

  not isolated activity within this state, including, but not limited to: (a) reaching out to cruise lines

  in Florida and establishing long-term partnerships with them; (b) deriving a substantial portion of

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  their revenues from their business with Florida-based cruise lines; (c) periodically traveling to

  Miami to meet with cruise line executives for purposes of maintaining the business relationships

  and/or obtaining new business; (d) procuring insurance through companies in Florida;

  (e) maintaining Florida entities as “Agents of Record” for insurance purposes; (f) agreeing to

  insure and indemnify entities in Florida; (g) signing premium financing agreements with Florida

  entities in order to obtain a loan to pay for liability insurance premiums; (h) buying parts and/or

  supplies from Florida-based suppliers to operate their excursions; (i) signing powers of attorney

  and/or appointing attorneys-in-fact in Florida to carry out their Florida operations; (j)

  participating in cruise industry trade shows in Miami (e.g., Sea trade); and/or (k) maintaining

  active membership in Florida Caribbean Cruise Association, based in Florida.

         12. At all times material hereto, the Excursion Entities have been in the business of

  providing excursions to cruise line passengers in the Dominican Republic through Florida-based

  cruise lines, including Carnival, Royal Caribbean, Celebrity and/or NCL.               In entering into

  contracts with these Florida-based cruise lines, the Excursion Entities agree to the exclusive

  jurisdiction of courts in Florida. Additionally, by being under contract with the Florida-based

  cruise lines, the Excursion Entities receive the benefit of the cruise lines’ advertising and

  promotional efforts.

         13. At all times material hereto, the Excursion Entities’ arrangement with the Florida-

  based cruise lines and the circumstances of this case are markedly different than those at issue in

  Daimler AG v. Bauman, 134 S. Ct. 746 (2014). Herein, unlike Daimler, the Plaintiff is suing a

  Florida-based cruise line (Carnival) for injuries sustained while participating in an excursion

  operated by agents of the cruise line (the Excursion Entities) -- agents set up almost exclusively

  to do business with cruise lines (a majority of which are based in Florida). Further unlike

  Daimler, Carnival is “at home” in this jurisdiction because Carnival maintains its principal place

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  of business in Florida. Thus, under Daimler, the Excursion Entities are also deemed “at home”

  in this jurisdiction by their direct and indirect contacts with Florida (through the Florida-based

  cruise lines).

                            The Excursion Entities’ activities in Florida satisfy
                            a finding of jurisdiction under Fed. R. Civ. P. 4(k).

          14. At all times material hereto, the Excursion Entities are also subject to jurisdiction

  pursuant to Federal Rule of Civil Procedure 4(k)(2) because (a) the instant maritime tort claims

  arise under federal law; (b) the Excursion Entities are not subject to jurisdiction in any state’s

  courts of general jurisdiction; and (c) exercising jurisdiction over the Excursion Entities is

  consistent with the United States Constitution and laws based on the Excursion Entities’

  minimum contacts with the United States as a whole such that the maintenance of this lawsuit

  does not offend traditional notions of fair play and substantial justice. These minimum contacts

  are set forth in the above allegations, and include, but are not limited to, the Excursion Entities’

  location and operation in the United States, as well as marketing, promoting, and selling tickets

  for its excursions in the United States directly and/or through cruise lines as their agents located

  all over the United States.

                                 FACTS COMMON TO ALL COUNTS

          15. At all times material hereto, Carnival owned, operated, managed, maintained and/or

  controlled the vessel, Carnival Victory.

          16. At all times material hereto, the Excursion Entities owned and/or operated the subject

  excursion, which was offered, arranged for, sponsored, recommended, marketed, sold, co-

  operated and/or managed by Carnival.

          17. On or about December 9, 2017, Plaintiff was a paying passenger aboard the Carnival

  Victory, which was in navigable waters.



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                         Promotional Material and Statements Concerning
                  Shore Excursions Generally and the Subject Excursion Specifically

         18. After booking the subject cruise, Carnival sent Plaintiff promotional material, which

  provided information and descriptions of shore excursions, including the excursion entitled,

  “Ultimate Island Snorkel” (hereinafter “subject excursion”).

         19. In addition to the promotional material sent to Plaintiff, Carnival’s website contained

  information and descriptions of shore excursions, including the subject excursion. Tickets for

  shore excursions, including the subject excursion, were also available for sale on Carnival’s

  website.

         20. Once Plaintiff was aboard the subject vessel, Carnival conducted a live presentation

  to passengers, during which Carnival discussed all of the excursion options available to

  passengers during the cruise. The subject excursion was among the excursions discussed at the

  presentation.

         21. Carnival also had promotional materials at its shore excursion desk aboard the cruise

  ship and/or other areas of the ship with information and descriptions of shore excursions,

  including the subject excursion. Tickets for shore excursions, including the subject excursion,

  were also available for sale on Carnival’s shore excursion desk aboard the cruise ship.

         22. The information and/or material Carnival made available and/or distributed to the

  Plaintiff represented that the excursions, including the subject excursion, were operated and/or

  overseen by Carnival and/or they were safe. For example:

               a. Carnival’s website publicly described the shore excursions in proprietary

                   language, including, but not limited to, “our excursions.”

               b. Carnival represented in its website that it “take[s] care of all the details and

                   wait[s] for all Carnival excursions to return before departing.”



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             c. Carnival’s website stated that Carnival “hand selected the best local providers at

                 every port of call,” and Carnival recommended that passengers not engage in

                 excursions, tours or activities that were not sold through Carnival.

             d. Carnival represented in its promotional material (including its website) that its

                 excursion providers are “reliable [and] reputable,” that all shore excursions were

                 “guided,” and that Carnival selects its excursion providers because they have the

                 “best reputation” in their respective ports.

             e. Carnival’s website stated that passengers should book the excursions sold through

                 Carnival because the providers are “required to carry insurance,” without

                 providing any details as to the adequacy or limits of such insurance.

         23. Among Carnival’s promotional material concerning shore excursions, including the

  subject excursion, Carnival’s website contained reviews for each excursion, which were posted

  by passengers. Notably, however, Carnival controls the information passengers disseminate

  about the excursions.       For instance, Carnival’s website directs passengers to refrain from

  mentioning competitors, prices, and promotions, and to avoid writing about customer service

  issues related to the excursion. Carnival also alters and/or deletes passengers’ reviews that

  contain complaints and/or information concerning safety concerns and/or prior incidents that

  have occurred while participating in the excursion. As a result, when passengers (like the

  Plaintiff) read the reviews on Carnival’s website, they are under the impression that the

  excursion is safe because the vast majority (if not all) of the reviews Carnival chooses to leave

  on the website are positive, without any complaints about customer service, negative experiences

  and/or prior incidents.

         24. With regard to the subject excursion specifically, Carnival’s promotional material and

  information did not require or recommend any particular level of experience to participate in the

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  excursion. By comparison, other excursions with high speed boat rides were classified as

  “[e]xtreme” or “[d]ifficult”, (see i.e.: Adrenaline Jetboat Adventure; Mini Speedboat &

  Snorkeling Adventure; Surf & Turf, 4x3 Terracross & Speed Boat; etc.) The subject excursion,

  however, was classified as “[m]oderate”. Further, Carnival’s promotional material and

  information did not contain adequate warnings and/or reviews from other passengers about

  customer service, negative experiences and/or prior incidents.

         25. The information and/or material Carnival made available and/or distributed to

  passengers concerning shore excursions, including the Plaintiff concerning the subject excursion,

  was based on the description and/or information provided to Carnival by the Excursion Entities

  and/or by Carnival’s inspections and/or approval of the subject excursion and/or of the Excursion

  Entities. Accordingly, Defendants undertook a duty to accurately advise passengers, including

  the Plaintiff, concerning the subject excursion in order to obtain a profit for Defendants, and

  Defendants were required to execute that duty utilizing reasonable care under the circumstances.

                                            Subject Incident

         26. Relying on the safety and reputability of Carnival as well as Carnival’s

  representations regarding its shore excursions, including the subject excursion, Plaintiff

  purchased tickets for the subject excursion directly from Carnival. The Plaintiff obtained all of

  the information regarding the subject excursion from Carnival and made all of the reservation

  arrangements for the subject excursion exclusively with Carnival. In turn, Carnival received a

  portion of Plaintiff’s ticket price for the subject excursion.

         27. The Plaintiff reviewed Carnival’s information and/or material concerning the subject

  excursion and relied upon Carnival’s representations exclusively and to Plaintiff’s detriment in

  deciding to purchase the subject excursion from Carnival and to participate in same during

  Plaintiff’s cruise aboard the Carnival Victory.

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          28. Based upon Carnival’s information and/or material concerning the subject excursion,

  Plaintiff reasonably understood that Carnival conducted regular inspections of the facilities,

  equipment, operations and operators of the subject excursion to ensure that they were reasonably

  safe, and Plaintiff relied upon such understanding to Plaintiff’s detriment in deciding to purchase

  the subject excursion from Carnival and to participate in same during Plaintiff’s cruise aboard

  the Carnival Victory.

          29. On or about December 9, 2017, as part of Plaintiff’s cruise aboard the Carnival

  Victory, Plaintiff participated in subject excursion in Nassau, Bahamas. This excursion was

  arranged for, sponsored, recommended, operated, marketed and/or sold by Carnival as part of the

  cruise aboard the Carnival Victory vessel. Unbeknownst to Plaintiff at the time, the excursion

  was operated by the Excursion Entities.

          30. At the beginning of the excursion, the tour guides did not provide sufficient

  instructions or safety guidelines to participants (including Plaintiff) concerning how to properly

  secure themselves in the high speed boat. Then, the boat was operated in a high speed manner,

  over wakes, waves, and other water conditions which caused the Plaintiff to be thrown into the

  air, repeatedly, and crash to the deck of the boat. The high speed boating activity was more

  indicative of an “extreme” or “difficult” excursion – not “moderate,” as classified by Carnival.

  As a result, Plaintiff suffered severe injuries.

          Carnival’s Notice of the Dangerous Excursion and/or Incompetent Providers

          31. The subject excursion was not competently operated by properly trained and/or

  supervised persons, and/or it was unreasonably hazardous for reasons that include, but are not

  limited to, (1) the inadequate instructions and/or safety guidelines; (2) the inadequate supervision

  and/or assistance; and/or (3) the high speed manner in which the boat was operated over wakes,

  waves, and other water conditions which caused the Plaintiff to be thrown into the air,

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  repeatedly, and crash to the deck of the boat. The incompetence and/or hazardous conditions of

  the excursion should have been discovered by Carnival before the incident if Carnival had

  conducted an adequate inspection of the boat, excursion location, and operators of the subject

  excursion to ensure it was reasonably safe before repeatedly recommending the excursion to its

  passengers, including Plaintiff, to the exclusion of other excursions not offered by Carnival.

         32. In addition, before Plaintiff’s incident, Carnival was or should have been on notice

  that the subject excursion was dangerous and/or not suitable for passengers due to other cruise

  ship passengers being injured on high speed boat excursions and/or other excursions operated by

  the Excursion Entities.

         33. Further, before Plaintiff’s incident, Carnival was or should have been on notice that

  the excursion was not reasonably safe for passengers. This notice was or should have been

  acquired through Carnival’s initial approval process and/or its yearly inspections of the subject

  excursion.

         34. Specifically, before offering excursions to passengers, the excursions and/or the

  excursion operators are subject to Carnival’s approval pursuant to policies and procedures

  promulgated by Carnival. This is a duty undertaken by Carnival, in part, so that it may make the

  aforementioned representations concerning the subject excursion to its passengers in an effort to

  generate a profit for Carnival. Accordingly, Carnival is required to execute this duty with

  reasonable care under the circumstances. During the excursion approval process, Carnival is

  supposed to verify whether the operator is qualified. The excursion operators also provide

  Carnival details pertaining to the excursion, including, but not limited to, the location, a

  description, restrictions, and/or participation levels for the excursion.        Part of the approval

  process also entails Carnival’s representatives inspecting the excursion being proposed,

  including the location, trails, equipment, and operations.           Accordingly, taking the subject

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  excursion did or should have revealed that the subject excursion was dangerous and/or not

  suitable for passengers due to (1) the inadequate instructions and/or safety guidelines; (2) the

  inadequate supervision and/or assistance; (3) the rough, uneven and/or steep terrain; and/or (4)

  the difficult-to-maneuver ATV(s).

         35. Moreover, once an excursion is approved and accepted by Carnival, Carnival sends

  excursion operators standards, policies, and/or procedures that the operators must adhere to while

  Carnival is offering their excursions to its passengers. Additionally, the excursion operators are

  subject to yearly inspections and/or approval by Carnival, wherein Carnival is supposed to

  conduct site inspections of the excursion as well as the location, trails, equipment, and operations

  of the excursion.    The yearly inspections and/or approval process also requires excursion

  operators to submit yearly “bids” and/or reports to Carnival, wherein the operators disclose the

  details of incidents that occurred during the excursion involving cruise line passengers (among

  other information). Thus, before Plaintiff’s incident, Carnival was or should have been on notice

  that cruise ship passengers were injured participating in these types of excursions. Further,

  Carnival’s yearly inspections and/or approval process, including taking the subject excursion, did

  or should have revealed that the subject excursion was dangerous and/or not suitable for

  passengers due to (1) the inadequate instructions and/or safety guidelines; (2) the inadequate

  supervision and/or assistance; and/or (3) the high speed manner in which the boat was operated

  over wakes, waves, and other water conditions which caused passengers to be thrown into the

  air, repeatedly, and crash to the deck of the boat.

              FACTS CONCERNING THE RELATIONSHIP/ARRANGEMENT
                BETWEEN CARNIVAL AND THE EXCURSION ENTITIES




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         36. At all times material hereto, the Excursion Entities were the agents and/or apparent

  agents of Carnival by virtue of the following, such that Carnival is estopped from denying that

  the Excursion Entities were the agents and/or apparent agents of Carnival:

             a. Carnival made all arrangements for the subject excursion without disclosing to

                 Plaintiff that the subject excursion was being run by another entity (and/or

                 entities); and/or

             b. Carnival marketed the subject excursion using its company logo on its website

                 and/or in its brochures and/or on its ship without disclosing to Plaintiff that the

                 subject excursion was being run by another entity (and/or entities); and/or

             c. Carnival maintained an excursion desk on its ship whereby it offered, sold,

                 provided information to, and answered questions of passengers about the subject

                 excursion without disclosing to Plaintiff that the subject excursion was being run

                 by another entity (and/or entities); and/or

             d. Carnival recommended its passengers to not engage in excursions, tours and/or

                 activities that are not sold through Carnival; and/or

             e. Until the point that Plaintiff actually participated in the subject excursion, the

                 Plaintiff’s exclusive contacts concerning the subject excursion was with Carnival

                 and/or Carnival’s onboard excursion desk; and/or

             f. The fee for the subject excursion was charged to the Plaintiff, and collected from

                 the Plaintiff, exclusively by Carnival; and/or

             g. Plaintiff received the receipt for the purchase of the subject excursion exclusively

                 from Carnival.

         37. At all times material hereto, Plaintiff relied on the above, to Plaintiff’s detriment, so

  as to believe that the Excursion Entities were the employee(s) and/or agent(s) of Carnival, in

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  choosing the subject excursion. At no time did Carnival represent to Plaintiff in particular, or the

  ship’s passengers in general, in a meaningful way that the Excursion Entities were not agent(s)

  and/or employee(s) of Carnival.

         38. At all times material hereto, Carnival was the owner or co-owner of the subject

  excursion. At all times material hereto, Carnival was responsible for, and liable for, the actions

  of the Excursion Entities with respect to the subject excursion.

         39. In the alternative, at all times material hereto, a partnership and/or joint venture

  existed between the Excursion Entities by virtue of the following, whereby Carnival and the

  Excursion Entities are jointly and severally responsible for the negligence of each other as

  partners of the partnership and/or joint venture:

             a. Carnival and the Excursion Entities entered into an agreement whereby: Carnival

                 made all arrangements for the Plaintiff, on behalf of the partnership with the

                 Excursion Entities, for the subject excursion being run by the Excursion Entities;

                 and/or

             b. Carnival marketed on Carnival’s website and/or in its brochures and/or on its

                 ship, on behalf of the partnership with the Excursion Entities, the subject

                 excursion being run by the Excursion Entities; and/or

             c. Carnival maintained an excursion desk on its ship where it offered, sold, provided

                 information to, and answered questions of passengers, on behalf of the partnership

                 with the Excursion Entities, about the subject excursion being run by the

                 Excursion Entities; and/or

             d. The Excursion Entities provided the equipment to be used in the subject

                 excursion; and/or




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                 e. Carnival determined the amount of money charged for the subject excursion being

                     run by the Excursion Entities; and/or

                 f. Carnival collected the amount of money charged for the subject excursion being

                     run by the Excursion Entities; and/or

                 g. Carnival shared profits with the Excursion Entities for the subject excursion by

                     retaining a portion of the ticket sales for the subject excursion after the tickets

                     were sold, and paying the Excursion Entities the remaining portion of the ticket

                     sales for the subject excursion; and/or

                 h. Carnival shared losses with the Excursion Entities for the subject excursion,

                     including, for instance, when Carnival issued a refund to passengers for the

                     Excursion Entities’ excursion(s), including, but not limited to, the subject

                     excursion.

          40. At all times material hereto, Carnival was a partner in the subject excursion.

          41. At all times material hereto, Carnival operated and/or supervised the subject

  excursion.

          42. At all times material hereto, the Excursion Entities owned and operated the subject

  excursion. The Excursion Entities were involved in providing the subject excursion to the

  Plaintiff.     At all times material hereto, the Excursion Entities were the agent(s), apparent

  agent(s), joint venturer(s), servant(s), and/or employee(s) of Carnival and at all times acted

  within the course and scope of their agency, apparent agency, joint venture, service and/or

  employment.

                   COUNT I – MISLEADING ADVERTISING IN VIOLATION OF
                     FLORIDA STATUTE § 817.41 AGAINST DEFENDANTS




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         The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

  paragraphs one (1) through forty-two (42) as though alleged originally herein.

         43. At all times material hereto, Carnival’s promotional material, brochures and/or

  website contained misrepresentations of material facts, including:

             a. Misrepresenting the actual activity level and/or activities involved in the subject

                 excursion; and/or

             b. Misrepresenting that the excursion would allow you “glide atop of the turquoise

                 water” and “you can take photos from the vessel while passing this famous

                 Island”; and/or

             c. Mispresenting shore excursions, including the subject excursion, as being

                 Carnival’s excursions through the use of proprietary language; and/or

             d. Misrepresenting the subject excursion by posting a photo of passengers relaxing

                 on a slow moving boat on calm waters; and/or

             e. Misrepresenting that the excursion providers are safe, reliable and/or reputable,

                 when in actuality, passengers’ comments, complaints or information concerning

                 safety concerns and/or prior incidents are censored, altered and/or deleted on

                 publicly available website(s) operated and/or controlled by Carnival; and/or

             f. Representing that shore excursion providers are insured, when such insurance

                 may not cover claims outside of the providers’ area of operation and/or may

                 contain other limitations, such as the amount and types of claims covered; and/or

             g. Representing and/or implying that excursion providers would be subject to

                 personal jurisdiction in the United States and/or subject to United States and/or

                 Florida law by contractually requiring all Carnival passengers (including the

                 Plaintiff) to file suit in a specific jurisdiction in the United States for all claims

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                 arising from the subject cruise (including incidents that occur while participating

                 in shore excursions) and/or advertising that its excursion providers are insured.

         44. Pursuant to Florida Statute § 817.41(4), Carnival as well as the Excursion Entities are

  responsible for the foregoing false and/or misleading advertisements because Defendants were

  named in and/or obtained the benefits of the statements and/or advertisements.

         45. At all times material hereto, the foregoing statements Carnival made and/or

  disseminated were known, or through the exercise of reasonable care or investigation could or

  might have been ascertained, to be false and/or misleading. This knowledge was or should have

  been acquired through: (a) Carnival’s initial approval process of the Excursion Entities and/or

  the excursion, including, but not limited to, having Carnival’s representative(s) take the

  excursion;    (b) Carnival’s yearly inspections of the Excursion Entities and/or the excursion,

  including, but not limited to, conducting site inspections; and/or (c) prior incidents involving

  Carnival passengers injured on high speed boat excursions, the Excursion Entities’ excursions,

  and/or other incidents reported within the cruise industry.

         46. At all times material hereto, the statements were so made or disseminated with the

  intent or purpose, either directly or indirectly, of inducing passengers (including Plaintiff) to rely

  on the statements and act by purchasing tickets for shore excursions (including the subject

  excursion).

         47. At all times material hereto, the Plaintiff justifiably relied on the representations made

  by Carnival when Plaintiff purchased tickets for the subject excursion and participated in the

  subject excursion.

         48. As a result thereof, the Plaintiff was injured about Plaintiff’s body and extremity,

  suffered physical pain, mental anguish, loss of enjoyment of life, disability, disfigurement, post-

  traumatic stress disorder and other mental and/or nervous disorders, aggravation of any

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  previously existing conditions therefrom, incurred medical expenses in the care and treatment of

  Plaintiff’s injuries, suffered physical handicap, lost earnings and lost earning capacity, both past

  and future. The injuries are permanent or continuing in nature and Plaintiff will suffer the losses

  and impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff’s vacation, cruise,

  and transportation costs.

         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law and demand trial by jury.




         COUNT II – NEGLIGENT MISREPRESENTATION AGAINST CARNIVAL

         The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

  paragraphs one (1) through forty-two (42) as though alleged originally herein.

         49. At all times material hereto, Carnival’s promotional material, brochures and/or

  website contained misrepresentations of material facts, including:

             a. Misrepresenting the actual activity level and/or activities involved in the subject

                 excursion; and/or

             b. Misrepresenting that the excursion would allow you “glide atop of the turquoise

                 water” and “you can take photos from the vessel while passing this famous

                 Island”; and/or

             c. Mispresenting shore excursions, including the subject excursion, as being

                 Carnival’s excursions through the use of proprietary language; and/or

             d. Misrepresenting the subject excursion by posting a photo of passengers relaxing

                 on a slow moving boat on calm waters; and/or




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               e. Misrepresenting that the excursion providers are safe, reliable and/or reputable,

                  when in actuality, passengers’ comments, complaints or information concerning

                  safety concerns and/or prior incidents are censored, altered and/or deleted on

                  publicly available website(s) operated and/or controlled by Carnival; and/or

               f. Representing that shore excursion providers are insured, when such insurance

                  may not cover claims outside of the providers’ area of operation and/or may

                  contain other limitations, such as the amount and types of claims covered; and/or

               g. Representing and/or implying that excursion providers would be subject to

                  personal jurisdiction in the United States and/or subject to United States and/or

                  Florida law by contractually requiring all Carnival passengers (including the

                  Plaintiff) to file suit in a specific jurisdiction in the United States for all claims

                  arising from the subject cruise (including incidents that occur while participating

                  in shore excursions) and/or advertising that its excursion providers are insured.

         50. At all times material hereto, the foregoing statements Carnival made and/or

  disseminated were known, or through the exercise of reasonable care or investigation could or

  might have been ascertained, to be false and/or misleading. This knowledge was or should have

  been acquired through: (a) Carnival’s initial approval process of the Excursion Entities and/or

  the excursion, including, but not limited to, having Carnival’s representative(s) take the

  excursion;     (b) Carnival’s yearly inspections of the Excursion Entities and/or the excursion,

  including, but not limited to, conducting site inspections; and/or (c) prior incidents involving

  Carnival passengers injured on high speed boat excursions, the Excursion Entities’ excursions,

  and/or other incidents reported within the cruise industry.

         51. At all times material hereto, the statements were so made or disseminated with the

  intent or purpose, either directly or indirectly, of inducing passengers (including Plaintiff) to rely

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  on the statements and act by purchasing tickets for shore excursions (including the subject

  excursion).

         52. At all times material hereto, the Plaintiff justifiably relied on the representations made

  by Carnival when Plaintiff purchased tickets for the subject excursion and participated in the

  subject excursion.

         53. As a result thereof, the Plaintiff was injured about Plaintiff’s body and extremity,

  suffered physical pain, mental anguish, loss of enjoyment of life, disability, disfigurement, post-

  traumatic stress disorder and other mental and/or nervous disorders, aggravation of any

  previously existing conditions therefrom, incurred medical expenses in the care and treatment of

  Plaintiff’s injuries, suffered physical handicap, lost earnings and lost earning capacity, both past

  and future. The injuries are permanent or continuing in nature and Plaintiff will suffer the losses

  and impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff’s vacation, cruise,

  and transportation costs.

         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law and demand trial by jury.

                       COUNT III – NEGLIGENCE AGAINST CARNIVAL

         The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

  paragraphs one (1) through forty-two (42) as though alleged originally herein.

         54. At all times material hereto, it was the duty of Carnival to provide Plaintiff with

  reasonable or ordinary care under the circumstances.

         55. On or about December 9, 2017, Carnival and/or its agents, servants, joint venturers

  and/or employees breached its duty to provide Plaintiff with reasonable or ordinary care under

  the circumstances, based on the following acts and/or omissions:




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           a. Promoting the subject excursion as “hand selected” by Carnival, thereby implying

               that the Excursion Entities, operations and/or equipment (including the high speed

               boat) were reasonably safe under the circumstances, when in fact they were not;

               and/or

           b. Censoring, altering and/or deleting comments on publicly available website(s)

               operated and/or controlled by Carnival so as to censor, alter and/or delete

               complaints or information concerning safety concerns and prior incidents similar

               to the subject incident, thereby implying that the Excursion Entities, operations

               and/or equipment (including the high speed boat) were reasonably safe under the

               circumstances, when in fact they were not; and/or

           c. Failure to provide a safe excursion; and/or

           d. Failure to adequately inspect and/or monitor excursion providers so as to ensure

               that the subject excursion was reasonably safe for passengers; and/or

           e. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

               that the high speed boat was not operated over wakes, waves, and other water

               conditions which caused passengers to be thrown into the air, repeatedly, and

               crash to the deck of the boat; and/or

           f. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

               that passengers could adequately secure themselves during the high speed

               operation of the boat so that they would not be thrown into the air, repeatedly, and

               crash to the deck of the boat; and/or

           g. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

               that the instruction and/or warnings during the subject excursion was performed

               /given in such a manner as was reasonably safe for passengers; and/or

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           h. Failure to promulgate and/or enforce adequate standards, policies, and/or

               procedures for the Excursion Entities to require that the boat not be operated at

               high speeds over wakes, waves, and other water conditions which caused

               passengers to be thrown into the air, repeatedly, and crash to the deck of the boat;

               and/or

           i. Failure to promulgate and/or enforce adequate policies and procedures to ensure

               that passengers were given adequate instruction and warning to enable them to

               adequately secure themselves during the high speed operation of the boat so that

               they would not be thrown into the air, repeatedly, and crash to the deck of the

               boat; and/or

           j. Failure to adequately inspect and/or monitor the policies and procedures of the

               Excursion Entities to ensure that the high speed vessel and/or waterway and/or

               instruction and/or leading during the subject excursion was reasonably safe and/or

               performed in such a manner as was reasonably safe for cruise ship passengers;

               and/or

           k. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) of the dangers associated with participating in the subject excursion;

               and/or

           l. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that Carnival does not inspect and/or monitor the Excursion Entities, the

               subject excursion and/or the high speed vessel and/or waterway used for the

               subject excursion, despite the subject excursion being promoted as “hand

               selected” by Carnival; and/or




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           m. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that Carnival does not verify that the subject excursion and/or the high

               speed boat used for the subject excursion is/are reasonably safe and/or inspected,

               despite the subject excursion being promoted as “hand selected” by Carnival;

               and/or

           n. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that the Excursion Entities are not adhering to highest safety standards

               in the industry, as evident by the hazard and/or incompetence involved with the

               subject excursion; and/or

           o. Failure to regularly and/or adequately identify the highest safety standards in the

               industry for the activities offered in the subject excursion, and verify that the

               Excursion Entities are adhering to such standards; and/or

           p. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that the Excursion Entities are not subject to jurisdiction in the United

               States, especially when Carnival contractually requires its passengers (including

               the Plaintiff) to file suit in a specific jurisdiction in the United States for all claims

               arising from the subject cruise (including incidents that occur while participating

               in shore excursions); and/or

           q. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that the Excursion Entities carry independent insurance from the cruise

               line that has lower limits and more limited coverage than Carnival’s insurance;

               and/or

           r. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) the limits of the Excursion Entities’ insurance; and/or

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             s. Failure to verify insurance; and/or

             t. Failure to regularly and/or adequately review the safety record of the Excursion

                 Entities before recommending the subject excursion to passengers and the

                 Plaintiff; and/or

             u. Failure to ensure that properly trained and supervised persons operated the subject

                 excursion and/or vessel; and/or

             v. Having a shore excursion that was not competently operated.

         56. All or some of the above acts and/or omissions by Carnival and/or its agents,

  servants, and/or employees, caused and/or contributed to the Plaintiff being severely injured

  while participating in the subject excursion.

         57. At all times material hereto, Carnival knew of the foregoing conditions causing the

  subject incident and did not correct them, or the conditions existed for a sufficient length of time

  so that Carnival, in the exercise of reasonable care under the circumstances, should have learned

  of them and corrected them. This knowledge was or should have been acquired through:

  (a) Carnival’s initial approval process of the Excursion Entities and/or the excursion, including,

  but not limited to, having Carnival’s representative(s) take the excursion; (b) Carnival’s yearly

  inspections of the Excursion Entities and/or the excursion, including, but not limited to,

  conducting site inspections; and/or (c) prior incidents involving Carnival passengers injured on

  high speed boat excursions, the Excursion Entities’ excursions, and/or other incidents reported

  within the cruise industry.

         58. As a result of the negligence of Carnival, the Plaintiff was injured about Plaintiff’s

  body and extremity, suffered physical pain, mental anguish, loss of enjoyment of life, disability,

  disfigurement, post-traumatic stress disorder and other mental and/or nervous disorders,

  aggravation of any previously existing conditions therefrom, incurred medical expenses in the

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  care and treatment of Plaintiff’s injuries, suffered physical handicap, lost earnings and lost

  earning capacity, both past and future. The injuries are permanent or continuing in nature and

  Plaintiff will suffer the losses and impairments in the future. In addition, Plaintiff lost the benefit

  of Plaintiff’s vacation, cruise, and transportation costs.

         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law and demand trial by jury.

            COUNT IV - NEGLIGENCE AGAINST THE EXCURSION ENTITIES

         The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

  paragraphs one (1) through forty-two (42) as though alleged originally herein.

         59. At all times material hereto, the Excursion Entities owned and/or operated the subject

  excursion.

         60. At all times material hereto, it was the duty of the Excursion Entities to provide

  Plaintiff with reasonable care under the circumstances.

         61. On or about December 9, 2017, the Excursion Entities and/or their agents, servants,

  and/or employees breached their duty to provide Plaintiff with reasonable care under the

  circumstances, based on the following acts and/or omissions:

               a. Failure to provide a safe excursion; and/or

               b. Failure to adequately inspect and/or monitor excursion providers so as to ensure

                  that the subject excursion was reasonably safe for passengers; and/or

               c. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

                  that the high speed boat was not operated over wakes, waves, and other water

                  conditions which caused passengers to be thrown into the air, repeatedly, and

                  crash to the deck of the boat; and/or




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           d. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

               that the high speed boat was not operated over wakes, waves, and other water

               conditions which caused passengers to be thrown into the air, repeatedly, and

               crash to the deck of the boat; and/or

           e. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

               that the instruction and/or leading during the subject excursion was performed in

               such a manner as was reasonably safe for passengers; and/or

           f. Failure to promulgate and/or enforce adequate standards, policies, and/or

               procedures for the Excursion Entities to require that the boat not be operated at

               high speeds over wakes, waves, and other water conditions which caused

               passengers to be thrown into the air, repeatedly, and crash to the deck of the boat;

               and/or

           g. Failure to promulgate and/or enforce adequate policies and procedures to ensure

               that passengers were given adequate instruction and warning to enable them to

               adequately secure themselves during the high speed operation of the boat so that

               they would not be thrown into the air, repeatedly, and crash to the deck of the

               boat; and/or

           h. Failure to adequately inspect and/or monitor the policies and procedures of the

               Excursion Entities to ensure that the high speed vessel and/or waterway and/or

               instruction and/or leading during the subject excursion was reasonably safe and/or

               performed in such a manner as was reasonably safe for cruise ship passengers;

               and/or




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           i. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) of the dangers associated with participating in the subject excursion;

               and/or

           j. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that Carnival does not inspect and/or monitor the Excursion Entities, the

               subject excursion and/or the high speed boat and/or waterway used for the subject

               excursion, despite the subject excursion being promoted as “hand selected” by

               Carnival; and/or

           k. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that Carnival does not verify that the subject excursion and/or the high

               speed boat used for the subject excursion is/are reasonably safe and/or inspected,

               despite the subject excursion being promoted as “hand selected” by Carnival;

               and/or

           l. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that the Excursion Entities are not adhering to highest safety standards

               in the industry, as evident by the hazard and/or incompetence involved with the

               subject excursion; and/or

           m. Failure to regularly and/or adequately identify the highest safety standards in the

               industry for the activities offered in the subject excursion, and verify that the

               Excursion Entities are adhering to such standards; and/or

           n. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that the Excursion Entities are not subject to jurisdiction in the United

               States, especially when Carnival contractually requires its passengers (including

               the Plaintiff) to file suit in a specific jurisdiction in the United States for all claims

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                 arising from the subject cruise (including incidents that occur while participating

                 in shore excursions); and/or

             o. Failure to adequately warn and/or communicate to passengers (including the

                 Plaintiff) that the Excursion Entities carry independent insurance from the cruise

                 line that has lower limits and more limited coverage than Carnival’s insurance;

                 and/or

             p. Failure to adequately warn and/or communicate to passengers (including the

                 Plaintiff) the limits of the Excursion Entities’ insurance; and/or

             q. Failure to verify insurance; and/or

             r. Failure to regularly and/or adequately review the safety record of the Excursion

                 Entities before recommending the subject excursion to passengers and the

                 Plaintiff; and/or

             s. Failure to ensure that properly trained and supervised persons operated the subject

                 excursion and/or vessel; and/or

             t. Having a shore excursion that was not competently operated.

         62. All or some of the above acts and/or omissions by the Excursion Entities and/or their

  agents, servants, and/or employees, caused and/or contributed to the Plaintiff being severely

  injured while participating in the subject excursion.

         63. At all times material hereto, the Excursion Entities created and/or knew of the

  foregoing conditions causing the subject incident and did not correct them, or the conditions

  existed for a sufficient length of time so that the Excursion Entities, in the exercise of reasonable

  care under the circumstances, should have learned of them and corrected them. This knowledge

  was or should have been acquired through: (a) the initial approval process of the Excursion

  Entities and/or the excursion, including, but not limited to, having representative(s) take the

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  subject excursion; (b) the yearly inspections of the Excursion Entities and/or the excursion,

  including, but not limited to, conducting site inspections; and/or (c) prior incidents involving

  passengers injured on the Excursion Entities’ excursions that have occurred during Carnival

  cruises and/or that have been reported within the industry.

          64. As a result of the negligence of the Excursion Entities, the Plaintiff was injured about

  Plaintiff’s body and extremity, suffered physical pain, mental anguish, loss of enjoyment of life,

  disability, disfigurement, post-traumatic stress disorder and other mental and/or nervous

  disorders, aggravation of any previously existing conditions therefrom, incurred medical

  expenses in the care and treatment of Plaintiff’s injuries, suffered physical handicap, lost

  earnings and lost earning capacity, both past and future.            The injuries are permanent or

  continuing in nature and Plaintiff will suffer the losses and impairments in the future. In addition,

  Plaintiff lost the benefit of Plaintiff’s vacation, cruise, and transportation costs.

          WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law and demand trial by jury.

                   COUNT V – NEGLIGENCE AGAINST DEFENDANTS
               BASED ON APPARENT AGENCY OR AGENCY BY ESTOPPEL

          The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

  paragraphs one (1) through forty-two (42) as though alleged originally herein.

          65. At all times material hereto, the Excursion Entities were the apparent agent(s) of

  Carnival.

          66. At all times material hereto, Carnival is estopped to deny that the Excursion Entities

  were their agent(s) or employee(s).




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         67. At all times material hereto, Carnival made manifestations which caused the Plaintiff

  to believe that the Excursion Entities had authority to act for the benefit of Carnival. These

  manifestations included:

             a. Carnival allowed its name to be utilized in connection with the advertising of the

                Excursion Entities; and/or

             b. Carnival made all arrangements for the subject excursion without effectively

                disclosing to the Plaintiff that the subject excursion was being run by another

                entity (and/or entities); and/or

             c. Carnival marketed the subject excursion using its company logo on its website

                and/or in its brochures and/or on its ship without effectively disclosing to the

                Plaintiff that the subject excursion was being run by another entity (and/or

                entities); and/or

             d. Carnival maintained an excursion desk on its ship whereby it offered, sold,

                provided information to, and answered questions of passengers about the subject

                excursion without effectively disclosing to the Plaintiff that the subject excursion

                was being run by another entity (and/or entities); and/or

             e. Until the point that Plaintiff actually participated in the subject excursion, the

                Plaintiff’s exclusive contacts concerning the subject excursion was with Carnival;

                and/or

             f. Carnival recommended to Plaintiff to not engage in excursions, tours or activities

                that are not sold through Carnival as Carnival has no familiarity with other tours

                or their operations; and/or

             g. The fee for the excursion was charged to the Plaintiff, and collected from the

                Plaintiff, exclusively by Carnival; and/or

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               h. Plaintiff received the receipt for the purchase of the subject excursion exclusively

                  from Carnival.

          68. Plaintiff reasonably relied on the above, to her detriment, so as to believe that the

  Excursion Entities were the employee(s) and/or agent(s) of Carnival in choosing the subject

  excursion.

          69. It was reasonable to believe that the Excursion Entities were Carnival’s employee(s)

  and/or agent(s) because the Plaintiff booked, paid for and made all necessary arrangements for

  the subject excursion with Carnival. Carnival’s actions caused Plaintiff to believe that the

  Excursion Entities had authority to act on Carnival’s behalf. At no time did the Excursion

  Entities represent to the ship’s passengers or the Plaintiff in particular in a meaningful way that

  the Excursion Entities were not agents or employees of Carnival.

          70. Plaintiff’s reasonable reliance was detrimental because Plaintiff would not have

  booked, paid for and/or participated in the subject excursion or incur any injuries had the

  Plaintiff known that the subject excursion was not operated by Carnival.

          71. The foregoing acts of negligence of Carnival and/or the Excursion Entities were a

  direct and proximate cause of the Plaintiff’s injuries and damages.

          72. As a result of the negligence of the Defendants, the Plaintiff was injured about

  Plaintiff’s body and extremity, suffered physical pain, mental anguish, loss of enjoyment of life,

  disability, disfigurement, post-traumatic stress disorder and other mental and/or nervous

  disorders, aggravation of any previously existing conditions therefrom, incurred medical

  expenses in the care and treatment of Plaintiff’s injuries, suffered physical handicap, lost

  earnings and lost earning capacity, both past and future.            The injuries are permanent or

  continuing in nature and Plaintiff will suffer the losses and impairments in the future. In addition,

  Plaintiff lost the benefit of Plaintiff’s vacation, cruise, and transportation costs.

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         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law and demand trial by jury.




          COUNT VI – NEGLIGENCE AGAINST DEFENDANTS BASED ON
      JOINT VENTURE BETWEEN CARNIVAL AND THE EXCURSION ENTITIES

         The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

  paragraphs one (1) through forty-two (42) as though alleged originally herein.

         73. At all times material hereto, Carnival and the Excursion Entities engaged in a joint

  venture to provide excursions to passengers aboard Carnival’s ship(s).

         74. At all times material hereto, Carnival and the Excursion Entities entered into an

  agreement where Carnival would sell the subject excursion to its passengers and the Excursion

  Entities would operate the subject excursion.

         75. As its part of the joint venture, Carnival arranged for, sponsored, recommended,

  marketed, operated, marketed, sold and/or collected money for the subject excursion, and the

  money was then shared between Carnival and the Excursion Entities. As its part of the joint

  venture, the Excursion Entities provided labor and/or operated the subject excursion.

         76. Carnival, on behalf of the joint venture, charged a fee to passengers who utilized the

  excursions. The fee paid by the passengers, including the Plaintiff, was split between Carnival

  and the Excursion Entities, such that Carnival and the Excursion Entities shared a profit of the

  money made from the shore excursion.

         77. At all times material hereto, Carnival and the Excursion Entities had joint and/or

  shared control over aspects of the joint venture. The Excursion Entities had control over the day-



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  to-day workings of the excursions. Carnival also had control over the day-to-day workings of the

  excursions in that they required the Excursion Entities to exercise reasonable care in the

  operation of the subject excursion. Carnival had control over the arrangements, marketing and

  sales of the excursion.

         78. At all times material hereto, Carnival and the Excursion Entities shared a common

  purpose: to operate the subject excursion for a profit.

         79. At all times material hereto, Carnival and the Excursion Entities had a joint

  proprietary and/or ownership interest in the subject excursion. Carnival had an interest in

  arranging, sponsoring, recommending, advertising, operating, and selling the subject excursion

  as well as collecting money for such excursion, and the Excursion Entities had a proprietary

  interest in the time and labor expended in operating the subject excursion.

         80. At all times material hereto, Carnival and the Excursion Entities shared and/or had the

  right to share in the profits of the subject excursion, as Carnival retained a portion of the ticket

  sales for the subject excursion after the tickets were sold, and Carnival paid the Excursion

  Entities the remaining portion of the ticket sales for the subject excursion.

         81. At all times material hereto, Carnival and the Excursion Entities shared and/or had a

  duty to share any losses that may have been sustained with the subject excursion, including, for

  instance, when Carnival issued a refund to passengers for the Excursion Entities’ excursion(s),

  including, but not limited to, the subject excursion.

         82. Carnival and the Excursion Entities are jointly and severally responsible for each

  other’s negligence as partners of the partnership and/or joint venture.

         83. At all times material hereto, Carnival and the Excursion Entities therefore:

             a. Had an intention to create a joint venture;

             b. Had a joint proprietary interest in the subject matter of the venture;

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             c. Had mutual control and/or joint control over the subject matter of the venture with

                 respect to the provision of excursions to passengers aboard the ship;

             d. Had a right to share in the profits of the joint venture; and

             e. Would share losses which may have been sustained.

         84. As joint venturers, Carnival and the Excursion Entities are liable for each other’s

  negligence. As a result, Carnival is liable for the negligent conduct of the Excursion Entities.

         85. As a result of the negligence of Defendants, the Plaintiff was injured about Plaintiff’s

  body and extremity, suffered physical pain, mental anguish, loss of enjoyment of life, disability,

  disfigurement, post-traumatic stress disorder and other mental and/or nervous disorders,

  aggravation of any previously existing conditions therefrom, incurred medical expenses in the

  care and treatment of Plaintiff’s injuries, suffered physical handicap, lost earnings and lost

  earning capacity, both past and future. The injuries are permanent or continuing in nature and

  Plaintiff will suffer the losses and impairments in the future. In addition, Plaintiff lost the benefit

  of Plaintiff’s vacation, cruise, and transportation costs.

         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law and demand trial by jury.

                           COUNT VII – THIRD-PARTY BENEFICIARY

         The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

  paragraphs one (1) through forty-two (42) as though alleged originally herein.

         86. Carnival and the Excursion Entities entered into a contract to provide the subject

  excursion for passengers aboard Carnival’s ship(s).

         87. Carnival and the Excursion Entities intended that the contract primarily and directly

  benefit Carnival’s passengers, including the Plaintiff.




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         88. The intent of Carnival and the Excursion Entities for the contract to benefit Carnival

  passengers, including the Plaintiff, was expressed by Carnival and the Excursion Entities.

         89. The intent of Carnival and the Excursion Entities for the contract to benefit Carnival

  passengers, including the Plaintiff, was demonstrated by the provisions of the contract. These

  provisions include, but are not limited to, the following: (a) the purpose of the agreement

  explicitly stating that it is for the Excursion Entities to provide shore excursions to guests on

  Carnival’s vessels; (b) prohibiting dangerous activities from forming any part of shore

  excursions; (c) Carnival having the right to charge its passengers the price that Carnival

  determines in its sole discretion; (d) Carnival having the sole discretion to provide its passengers

  a full or partial reimbursement of the excursion ticket if a passenger is dissatisfied; (e) Carnival

  requiring that the Excursion Entities exercise reasonable care for the passengers’ safety at all

  times; (f) Carnival requiring that the Excursion Entities satisfy and continue to satisfy the highest

  standards of quality in the industry; and/or (g) Carnival requiring that the Excursion Entity

  maintain insurance for any and all injuries to passengers.

         90. This contract was breached by Carnival and/or the Excursion Entities for acts and/or

  omissions that include, but are not limited to, the following:

             a. Promoting the subject excursion as “hand selected” by Carnival, thereby implying

                 that the Excursion Entities, operations and/or equipment (including the high speed

                 boat) were reasonably safe under the circumstances, when in fact they were not;

                 and/or

             b. Censoring, altering and/or deleting comments on publicly available website(s)

                 operated and/or controlled by Carnival so as to censor, alter and/or delete

                 complaints or information concerning safety concerns and prior incidents similar

                 to the subject incident, thereby implying that the Excursion Entities, operations

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               and/or equipment (including the high speed boat) were reasonably safe under the

               circumstances, when in fact they were not; and/or

           c. Failure to provide a safe excursion; and/or

           d. Failure to adequately inspect and/or monitor excursion providers so as to ensure

               that the subject excursion was reasonably safe for passengers; and/or

           e. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

               that the high speed boat was not operated over wakes, waves, and other water

               conditions which caused passengers to be thrown into the air, repeatedly, and

               crash to the deck of the boat; and/or

           f. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

               that passengers could adequately secure themselves during the high speed

               operation of the boat so that they would not be thrown into the air, repeatedly, and

               crash to the deck of the boat; and/or

           g. Failure to adequately inspect and/or monitor the subject excursion so as to ensure

               that the instruction and/or warnings during the subject excursion was performed

               /given in such a manner as was reasonably safe for passengers; and/or

           h. Failure to promulgate and/or enforce adequate standards, policies, and/or

               procedures for the Excursion Entities to require that the boat not be operated at

               high speeds over wakes, waves, and other water conditions which caused

               passengers to be thrown into the air, repeatedly, and crash to the deck of the boat;

               and/or

           i. Failure to promulgate and/or enforce adequate policies and procedures to ensure

               that passengers were given adequate instruction and warning to enable them to

               adequately secure themselves during the high speed operation of the boat so that

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               they would not be thrown into the air, repeatedly, and crash to the deck of the

               boat; and/or

           j. Failure to adequately inspect and/or monitor the policies and procedures of the

               Excursion Entities to ensure that the high speed vessel and/or waterway and/or

               instruction and/or leading during the subject excursion was reasonably safe and/or

               performed in such a manner as was reasonably safe for cruise ship passengers;

               and/or

           k. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) of the dangers associated with participating in the subject excursion;

               and/or

           l. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that Carnival does not inspect and/or monitor the Excursion Entities, the

               subject excursion and/or the high speed vessel and/or waterway used for the

               subject excursion, despite the subject excursion being promoted as “hand

               selected” by Carnival; and/or

           m. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that Carnival does not verify that the subject excursion and/or the high

               speed boat used for the subject excursion is/are reasonably safe and/or inspected,

               despite the subject excursion being promoted as “hand selected” by Carnival;

               and/or

           n. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that the Excursion Entities are not adhering to highest safety standards

               in the industry, as evident by the hazard and/or incompetence involved with the

               subject excursion; and/or

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           o. Failure to regularly and/or adequately identify the highest safety standards in the

               industry for the activities offered in the subject excursion, and verify that the

               Excursion Entities are adhering to such standards; and/or

           p. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that the Excursion Entities are not subject to jurisdiction in the United

               States, especially when Carnival contractually requires its passengers (including

               the Plaintiff) to file suit in a specific jurisdiction in the United States for all claims

               arising from the subject cruise (including incidents that occur while participating

               in shore excursions); and/or

           q. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) that the Excursion Entities carry independent insurance from the cruise

               line that has lower limits and more limited coverage than Carnival’s insurance;

               and/or

           r. Failure to adequately warn and/or communicate to passengers (including the

               Plaintiff) the limits of the Excursion Entities’ insurance; and/or

           s. Failure to verify insurance; and/or

           t. Failure to regularly and/or adequately review the safety record of the Excursion

               Entities before recommending the subject excursion to passengers and the

               Plaintiff; and/or

           u. Failure to ensure that properly trained and supervised persons operated the subject

               excursion and/or vessel; and/or

           v. Having a shore excursion that was not competently operated.




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         91. All or some of the above acts and/or omissions by Defendants and/or their agents,

  servants, and/or employees, caused and/or contributed to the Plaintiff being severely injured

  while participating in the subject excursion.

         92. As a result of the breach, the Plaintiff was injured about Plaintiff’s body and

  extremity, suffered physical pain, mental anguish, loss of enjoyment of life, disability,

  disfigurement, post-traumatic stress disorder and other mental and/or nervous disorders,

  aggravation of any previously existing conditions therefrom, incurred medical expenses in the

  care and treatment of Plaintiff’s injuries, suffered physical handicap, lost earnings and lost

  earning capacity, both past and future. The injuries are permanent or continuing in nature and

  Plaintiff will suffer the losses and impairments in the future. In addition, Plaintiff lost the benefit

  of Plaintiff’s vacation, cruise, and transportation costs.

         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law and demand trial by jury.

           COUNT VIII – BREACH OF FIDUCIARY DUTY AGAINST CARNIVAL

         The Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

  paragraphs one (1) through forty-two (42) as though alleged originally herein.

         93. At all times material hereto, Plaintiff was a resident of New York, and Carnival was

  in the business of offering shore excursions to thousands of passengers daily from which it

  earned tens of millions of dollars a year (or more). Specifically, Carnival (a) conducted an initial

  approval and/or yearly inspection process for all excursion providers; (b) arranged for the

  services called for by the excursion providers; (c) collected a fee directly from passengers; and

  (d) earned a profit from the ticketing or sale of such services. As a result, Carnival was in a

  much stronger position to identify the potential dangers and/or inequities that passengers (like




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  Plaintiff) will encounter when participating in excursions and/or when involved in incident(s)

  and/or dispute(s) with excursion providers.

         94. Considering their respective positions, Plaintiff bestowed complete trust and

  confidence upon Carnival to (a) select safe, reliable and/or reputable excursion providers for

  passengers (like Plaintiff); (b) offer reasonably safe excursions for passengers (like Plaintiff);

  (c) accurately advise passengers (like Plaintiff) concerning the excursion providers and/or the

  subject excursion; and/or (d) make arrangements with the excursion providers that would benefit

  and/or protect passengers (like Plaintiff).

         95. At all times material hereto, Carnival accepted Plaintiff’s trust and confidence by

  representing that Carnival “hand selected the best local providers at every port of call,” and

  recommending that passengers (like Plaintiff) not engage in excursions, tours or activities that

  were not sold through Carnival. Carnival also represented to the Plaintiff that it was acting as an

  agent for the Plaintiff in selecting and arranging shore excursions.

         96. At all times material hereto, Carnival therefore had a fiduciary duty to (a) select safe,

  reliable and/or reputable excursion providers for passengers (like Plaintiff); (b) offer reasonably

  safe excursions for passengers (like Plaintiff); (c) accurately advise passengers (like Plaintiff)

  concerning the excursion providers and/or the subject excursion; and/or (d) make arrangements

  with the excursion providers that would benefit and/or protect passengers (like Plaintiff).

         97. At all times material hereto, Carnival breached its fiduciary duty to Plaintiff by the

  following acts and/or omissions:

             a. Failing to select and/or adequately verify that the Excursion Entities were safe,

                 reliable and/or reputable, as evident by the incompetence involved with the

                 subject excursion; and/or




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            b. Failing to offer a reasonably safe excursion, as evident by the hazard involved

                with the subject excursion; and/or

            c. Failing to accurately advise Plaintiff concerning the actual activity level and/or

                activities involved in the subject excursion; and/or

            d. Failure to adequately warn and/or communicate to passengers (including the

                Plaintiff) that the Excursion Entities are not subject to jurisdiction in the United

                States and/or the law in the United States or Florida, especially when Carnival

                contractually requires its passengers (including the Plaintiff) to file suit in a

                specific jurisdiction in the United States for all claims arising from the subject

                cruise (including incidents that occur while participating in shore excursions);

                and/or

            e. Failing to make arrangements with the Excursion Entities that would benefit

                and/or protect passengers, such as (i) requiring the Excursion Entities to submit to

                personal jurisdiction in the United States and, specifically, in the same forum that

                Carnival requires Plaintiff to file lawsuits for all claims arising from the subject

                cruise; and (ii) requiring the Excursion Entities to agree to the application of

                specific United States and/or Florida law for all disputes arising from the subject

                excursion, including passengers’ claims against the Excursion Entities.

         98. As a result of the breach, the Plaintiff was injured about Plaintiff’s body and

  extremity, suffered physical pain, mental anguish, loss of enjoyment of life, disability,

  disfigurement, post-traumatic stress disorder and other mental and/or nervous disorders,

  aggravation of any previously existing conditions therefrom, incurred medical expenses in the

  care and treatment of Plaintiff’s injuries, suffered physical handicap, lost earnings and lost

  earning capacity, both past and future. The injuries are permanent or continuing in nature and

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  Plaintiff will suffer the losses and impairments in the future. In addition, Plaintiff lost the benefit

  of Plaintiff’s vacation, cruise, and transportation costs.

         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law and demand trial by jury.

                                                            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 27, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached

  Service List in the manner specified, either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are

  not authorized to electronically receive Notices of Electronic Filing.

                                                    By: /s/ Jason R. Margulies
                                                        JASON R. MARGULIES




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